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                                         UNITED STATES I3ISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                ~,~~.~.          _
                                                                 CASE NUMBER:
                                                                                                  ~~ ~y
  UNITED STATES OF AMERICA                                                                  b      ~f

                   V                                 PLAINTIFF            ~.~- ~ ~ -~ ZS                f
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                                                                      REPORT CO             1~TG( MI~1AL
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                                                    DEFENDANT                         ACTIO      ;~~ 'r'

  TO: CLERIC`S OFFICE, U.S. DISTRICT COURT

  All areas must be completed. Any area not applicable or unknown should indicate "N/A".

  1• Date and time of arrest: ~~(p~~ g                                    ~ 13O   Q AM ~ PM
  2. The above named defendant is currenfly hospitalized and cannot be transported to court for arraignment or
     any other preliminary proceeding:     ~ Yes       ~ No
  3. Defendant is in U.S. Marshals Service lock-up (in this court building):      ~ Yes    Q No
 4. Charges under which defendant has been booked:
                              / \         po5S~55ioN        of      ~N       UN1~~~ST~R~p ~~5'TRvcT~v~
        ~~D ~~~1~'_ h~~ 1 n ~ ((~ 1         T~6NIC`~

 5. Offense charged is a:    ~ Felony       Q Minor Offense          ~ Petty Offense       ~ Other Misdemeanor
 6. Interpreter Required: ~,~_,
                           1~~To       Q Yes        Language:

 7. Year of Birth: ~ qj~

 8. Defendant has retained counsel:       ~~    ~
    ~ Yes        Name:                                                    Phone Number:

 9• Name ofPretrial Services Officer notified: ~~ ~— V

10. Remarks (if any):       ~d~~

11. Name: C                                               please print)
            hr-K IS'`O I~H~2 T. }OWE
12. Office Phone Number: 7~c.~-~3~~y.~                                      13. Agency:   ~$
                                               T

14. Signature:                                                              15. Date: ~~~


CR-64 (2/14)                             REPORT COMMENCING CRIMINAL ACTION
